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Public Statistics for the Deepwater Horizon Economic and Property Damages Settlement
September 04, 2012

Claims Administrator Patrick Juneau has announced that the Settlement Program began issuing payments on July 31, 2012, and has been issuing outcome
Notices since July 15, 2012. The Program will issue Notices on a rolling basis as we complete reviews, and they will include Eligibility Notices, Incompleteness
Notices, and Denial Notices. Each Notice will provide information explaining the outcome. We will post Notices on the secure DWH Portal for any law firm or
unrepresented claimant who uses the DWH Portal. We will notify firms and unrepresented claimants by email at the end of each day if we have posted a Notice
that day. Firms and unrepresented claimants may then log onto the DWH Portal to see a copy of the Notice(s). Law Firms or claimants who do not use the DWH
Portal will receive Notices in the mail. Claimants who receive an Eligibility Notice and qualify for a payment will receive that payment after all appeal periods have
passed, if applicable, and the claimant has submitted all necessary paperwork, including a fully executed Release and Covenant Not to Sue.

1, Alabama 598 8,536 9,134 14% 1,402 8,072 9,474 16%
2. Florida 1,547 22,490 24,037 37% 3,728 16,563 20,291 34%
3. Louisiana 1,481 15,154 16,635 26% 2,598 13,634 16,232 27%
4. Mississippi 409 6,478 6,887 11% 935 6,140 7,075 12%
5. Texas 331 2,704 3,035 5% 644 2,035 2,679 4%
6. Other 1,728 2,987 4,715 7% 949 3,549 4,498 7%
7. Total 6,094 58,349 64,443 100% 10,256 49,993 60,249 100%

Chart 1: Filings by State of Residence

28,000 +« 24,037

16,635 16,232

9,134 9,474
6,887 7,075

4,715 4,498

3,035 2,679

Alabama Florida Louisiana Mississippi Texas Other

G5 Registration Forms ij Claims

1 Seafood Compensation Program 797 5,802 6,599 11%
2. Individual Economic Loss 5,004 15,257 20,261 34%
3 Individual Periodic Vendor or Festival Vendor Economic Loss 108 97 205 <1%
4. Business Economic Loss 1,706 10,796 12,502 21%
5 Start-Up Business Economic Loss 211 912 1,123 2%
6. Failed Business Economic Loss 211 1,016 1,227 2%
7 Coastal Real Property 845 5,532 6,377 11%
8. Wetlands Real Property 186 880 1,066 2%
9. Real Property Sales 169 410 579 1%
10. | Subsistence 665 3,873 4,538 8%
11. | VoO Charter Payment 284 5,159 5,443 9%
12. Vessel Physical Damage 70 259 329 1%
13. | Total 10,256 49,993 60,249 100%
Chart 2: Number of Claims by Claim Type
24,000-+4
22,000--4 20,261
20,000-+
18,000--
16,000--
14,000-+ 12,502
12,000--
a= 6,599
8,000-+4 , 6,377
6,000-+ 4,538 5,443
4,000
2,000-- 205 1,123 1,227 1,066 579 | g a8
0 a- <3 3 —— ———
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DEEPWATER HORIZON

CLAIMS CENTER APPENDIX A %™**%

ECONOMIC & PROPERTY DAMAGE CLAIMS

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Public Statistics for the Deepwater Horizon Economic and Property Damages Settlement
September 04, 2012

A | Apalachicola, FL fd 24 of 434 - 458 P 4% l 64 491 P 555 to 4%

2. Bay St. Louis , MS 16 358 374 3% 58 393 451 4%
3. Bayou La Batre, AL 38 482 520 4% 95 451 546 4%
4 Biloxi , MS 48 946 994 8% 92 937 1,029 8%
5. Bridge City, TX 0 114 114 1% 26 155 181 1%
6. Clearwater, FL 66 1,137 1,203 10% 213 748 961 8%
7. Cut Off, LA 14 253 267 2% 33 267 300 2%
8 Fort Walton Beach , FL 12 545 557 5% 64 565 629 5%
9. Grand Isle, LA 3 99 102 1% 9 116 125 1%
10. Gretna/Harvey, LA 24 1,070 1,094 9% 80 996 1,076 9%
11. | Gulf Shores, AL 24 753. 777 6% 93 834 927 7%
12. | Houma, LA 27 438 465 4% 41 483 524 4%
13. | Lafitte, LA 7 207 214 2% 18 238 256 2%
14. | Mobile, AL 40 1,436 1,476 12% 147 1,366 1,513 12%
15. | Naples, FL 37 801 838 7% 45 637 682 5%
16. New Orleans — CBD BG, LA 10 127 137 1% 12 105 117 1%
17. | New Orleans East, LA 53 1,335 1,388 12% 1i1 1,346 1,457 12%
18. Panama City Beach, FL 19 460 479 4% 87 491 578 5%
19. | Pensacola, FL 35 571 606 5% 73 553 626 5%
20. | Total 497 11,566 12,063 100% 1,361 11,172 12,533 100%

Chart 3: Number of Claims by Claimant Assistance Center

Apalachicola, FL 555
Bay St. Louis , MS 451
Bayou La Batre, AL 546
Biloxi , MS {1,029
Bridge City, TX 181
Clearwater, FL 961
Cut Off, LA 300
Fort Walton Beach , FL 629
Grand Isle, LA 125
Gretna/Harvey, LA 1,076
Gulf Shores, AL 927
Houma, LA 624
Lafitte, LA 256
Mobile, AL 1,513
Naples, FL 682
New Orleans — CBD BG, LA 117
New Orleans East, LA 1,457
Panama City Beach, FL 78
Pensacola, FL 626

0 200 400 600 800 1,000 1,200 1,400 1,600 1,800 2,000

Legend:

1, Form Begun - Includes electronically filed registration or claim forms for the period of time between the moment a claimant or his attorney has initiated the submission of a
form and moment they complete that filing by submitting the electronic signature. This definition also includes hard copy registration or claim forms where the DWH Intake
Team is in the process of linking the scanned images and has not yet completed the data entry on that form.

2. Form Submitted - Includes electronically filed registration or claim forms after the claimant or his attorney completes the electronic signature and clicks the submit button.
This definition also includes hard copy registration or claim forms where the DWH Intake Team has completed both the linking of scanned images and the data entry on that
form.

DEEPWATER HORIZON
CLAIMS CENTER Page 2 of 2

ECONOMIC & PROPERTY DAMAGE CLAIMS

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z, || Seafend Compensation 5,802 3,443 905 536 102 47 120 267
Program

2. Individual Economic Loss 15,257 11,289 8,503 728 1 2 0 725
Individual Periodic Vendor

3. or Festival Vendor 97 75 N/A 16 0 0 11 5
Economic Loss

4. Business Economic Loss 10,796 6,244 2,638 483 62 2 234 185
Start-Up Business

5. Economic Loss 912 530 205 22 0 0 7 15

6. Failed Business Economic 1,016 668 256 59 0 0 8 51
Loss

7. Coastal Real Property 5,532 4,393 N/A 782 603 0 74 105

8. Wetlands Real Property 880 824 N/A 16 9 0 0 af

9. Real Property Sales 410 336 N/A 139 68 0 29 42

10. | Subsistence 3,873 2,357 N/A 98 0 0 0 98

11. | VoO Charter Payment 5,159 3,451 N/A 2,888 2,501 0 343 44

12. | Vessel Physical Damage 259 186 N/A 6 1 0 5 0

13. | TOTALS 49,993 33,796 12,507 5,773 3,347 51 831 1,544

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Amount Amount l Amount

Seafood Compensation

ii Program 102 $8,544,689 50 $5,631,313 1 $40,972

2. Individual Economic Loss 1 $2,572 1 $2,572 0 $0
Individual Periodic Vendor

3. or Festival Vendor 0 $0 0 $0 0 $0
Economic Loss

4. Business Economic Loss 62 $10,995,627 37 $7,278,069 0 $0
Start-Up Business

5. | Economic Loss 0 $0 0 $0 0 $0

6. Failed Business Economic 0 $0 0 $0 0 $0
Loss

7. Coastal Real Property 603 $3,968,987 226 $1,884,891 59 $439,070

8. Wetlands Real Property 9 $141,750 1 $15,750 1 $15,750

9. Real Property Sales 68 $3,700,731 53 $3,189,044 17 $1,181,694

10. | Subsistence 0 $0 0 $0 0 $0

11. | VoO Charter Payment 2,501 $111,166,031 1,938 $92,071,571 504 $24,617,700

12. | Vessel Physical Damage 1 $1,088 1 $1,088 0 $0

13. | TOTALS 3,347 $138,521,476 2,307 $110,074,297 582 $26,295,186

DEEPWATER HORIZON
CLAIMS C' ENTER Page 2 of 2
